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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION


  FABIAN SULTAN,
                                                  CASE NO.: _______________________
         Plaintiff,

  v.
                                                                    COMPLAINT
  MEDICREDIT, INC.
                                                          JURY TRIAL DEMANDED
         Defendant.
                                            /


         Plaintiff, Fabian Sultan (“Fabian”), by and through their undersigned counsel, hereby

  files this Complaint against Defendant, Medicredit, Inc. (“Medicredit”), and states as follows:

                                         INTRODUCTION

  1.    This is an action for damages brought by an individual consumer based on Medicredit’s

        violations of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.,

        the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 and the Florida

        consumer Collection Practices Act, Fla. Stat. §§ 559.55 et seq. (“FCCPA”).

                                                PARTIES

  2.    Fabian is a natural person who resided in Hallandale Beach, Florida, at all times relevant to

        this action.

  3.    Medicredit is a Missouri corporation that maintained its principal place of business in

        Columbia, Missouri, at all times relevant to this action.




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                                     JURISDICTION AND VENUE

  4.    Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter

        as it arises under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et

        seq. and the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.

  5.    Pursuant to 28 U.S.C. §1367(a), this Court has supplemental jurisdiction over Fabian’s

        claims under the Florida Consumer Collection Practices Act, Fla. Stat. (“FCCPA”), §

        559.55, et seq., because those claims share a common nucleus of operative facts with

        Fabian’s claims under the FDCPA. See LeBlanc v. Unifund CCR Partners, 601 F.3d 1185

        (11th Cir. 2010) (“[FCCPA’s] remedies are ‘cumulative to other sanctions and enforcement

        provisions’ for any violation by an out-of-state consumer debt collector.”).

  6.    Pursuant to 28 U.S.C. § 1391(b), venue is proper because a substantial part of the events

        giving rise to this claim occurred in this judicial district.

                                        STATEMENT OF FACTS

  7.    Before Medicredit began contacting Fabian, it and Fabian had no prior business

        relationship and Fabian had never provided express consent to Medicredit to be contacted

        on his cellular telephone.

  8.    Medicredit regularly uses instrumentalities of interstate commerce and the mails to collect

        consumer debts owed or due or asserted to be owed or due another.

  9.    The principal source of Medicredit’s revenue is debt collection.

  10.   Medicredit is a "debt collector” as defined by 15 U.S.C. § 1692a(6).

  11.   As described, infra, Medicredit contacted Fabian to collect a debt that was incurred

        primarily for personal, family, or household purposes.

  12.   This alleged obligation is a “debt” as defined by 15 U.S.C. § 1692a(5).




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  13.   Fabian is a “consumer” as defined by 15 U.S.C. § 1692a(3).

  14.   Within the past twelve months, and before, Medicredit has been calling Fabian on Fabian’s

        cellular phone ending in -6772 in connection with the collection of a debt using an

        automatic telephone dialing system (“ATDS”).

  15.   When Fabian would answer the calls, there would be a pre-recorded message before being

        connected to a live representative from Medicredit.

  16.   When Fabian would answer the calls, he would hear a slight pause before being connected

        to a live representative from Medicredit.

  17.   When Fabian would answer the calls, he would hear a clicking sound before being able to

        speak to a live representative from Medicredit.

  18.   Shortly after the calls began, Fabian advised Medicredit he was unemployed, so he could

        not pay the debt.

  19.   In addition, Fabian communicated his desire that Medicredit cease calling him.

  20.   Despite this communication, Medicredit continued to call Fabian on his cellular phone.

  21.   Fabian repeatedly begged Medicredit to cease calling him; nevertheless, Medicredit

        continued to call Fabian on his cellular phone.

  22.   Medicredit’s collection efforts, including but not limited to its telephone calls, caused

        Fabian emotional distress in the form of frustration, annoyance, aggravation, and anxiety.

  23.   Medicredit’s collection efforts also intruded upon Fabian’s privacy.

  24.   In addition, each time Medicredit placed a telephone call to Fabian, Medicredit occupied

        Fabian’s telephone number such that Fabian was unable to receive other phone calls at that

        telephone number while Medicredit was calling him.




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  25.   Medicredit’s telephone calls also forced Fabian to lose time by having to tend to

        Medicredit’s unwanted calls.

                                              COUNT ONE

                            Violation of the Fair Debt Collection Practices Act

  26.   Fabian re-alleges and incorporates by reference Paragraphs 7 through 25 above as if fully

        set forth herein.

  27.   In order to establish a violation of Section 1692d of the FDCPA, a consumer need not

        prove intentional conduct by the debt collector. See Ellis v. Solomon & Solomon, P.C.,

        591 F.3d 130, 135 (2nd Cir. 2010); Horkey v. J.V.D.B. & Assocs., Inc., 333 F.3d 769, 774

        (7th Cir. 2013) (“[Plaintiff] points to no evidence in the record regarding [Defendant’s]

        intent, which is just as well, because intent is irrelevant” in a § 1692d claim).

  28.   “Instead, applying an objective standard, as measured by the ‘least sophisticated

        consumer,’ the consumer need only show that the likely effect of the debt collector’s

        communication or conduct could be construed as harassment, oppression or abuse.” See

        Lee v. Credit Mgmt., LP, 846 F. Supp. 2d 716, 721 (S.D. Tex. 2012).

  29.   The likely effect of Medicredit’s debt collection efforts, as measured by the “least

        sophisticated consumer” standard, was “to harass, oppress, or abuse” Fabian.

  30.   Medicredit violated 15 U.S.C. § 1692d by engaging in conduct the natural consequence of

        which is to harass, oppress, or abuse Fabian in connection with the collection of the debt.

                                              COUNT TWO

                            Violation of the Fair Debt Collection Practices Act

  31.   Fabian re-alleges and incorporates by reference Paragraphs 7 through 25 above as if fully

        set forth herein.




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  32.   Medicredit violated 15 U.S.C. § 1692f by using unfair or unconscionable means to collect

        the debt.

                                            COUNT THREE

                        Violation of the Telephone Consumer Protection Act

  33.   Fabian re-alleges and incorporates by reference Paragraphs 7 through 25 above as if fully

        set forth herein.

  34.   Senator Fritz Hollings, the original sponsor of the TCPA, stated:

           Computerized calls are the scourge of modern civilization. They wake us up in the
           morning; they interrupt our dinner at night; they force the sick and elderly out of bed;
           they hound us until we want to rip the telephone right out of the wall.

        137 Cong. Rec. 30,821 (1991).

  35.   The TCPA defines an automatic telephone dialing system (“ATDS”) as “equipment which

        has the capacity…(A) to store or produce telephone numbers to be called, using a random

        or sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

  36.   “[A] predictive dialer is equipment that dials numbers and, when certain computer software

        is attached, also assists telemarketers in predicting when a sales agent will be available to

        take calls. The hardware, when paired with certain software, has the capacity to store or

        produce numbers and dial those numbers at random, in sequential order, or from a database

        of numbers.”        In the Matter of Rules and Regulations Implementing the Telephone

        Consumer Protection Act of 1991, 30 FCC Rcd. 7961, 7973, ¶ 13 (2015); see also In the

        Matter of Rules & Regulations Implementing the Telephone Consumer Protection Act of

        1991, 18 F.C.C. Rcd. 14014, 14091-4093 (2003); In the Matter of Rules & Regulations

        Implementing the Telephone Consumer Protection Act of 1991, 23 F.C.C. Rcd. 559, 562-

        63 (2008).




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  37.   A telephone dialing system with predictive dialer functionality is an ATDS within the

        meaning of the TCPA. Smith v. MarkOne Fin., LLC, 2015 WL 419005, *2-3 (M.D. Fla.

        Feb. 2, 2015); In the Matter of Rules and Regulations Implementing the Telephone

        Consumer Protection Act of 1991, 30 FCC Rcd. 7961, 7973, ¶ 13 (2015); see also In the

        Matter of Rules & Regulations Implementing the Telephone Consumer Protection Act of

        1991, 18 F.C.C. Rcd. 14014, 14091-4093 (2003); In the Matter of Rules & Regulations

        Implementing the Telephone Consumer Protection Act of 1991, 23 F.C.C. Rcd. 559, 562-

        63 (2008).

  38.   Medicredit used a telephone dialing system with predictive dialer functionality to place

        calls to Fabian on his cellular telephone.

  39.   The TCPA provides, in part:

         (b)     RESTRICTIONS          ON     THE        USE   OF   AUTOMATED        TELEPHONE
               EQUIPMENT.—

               (1) PROHIBITIONS.—It shall be unlawful for any person within the United States,
                     or any person outside the United States if the recipient is within the United
                     States—

                      (A) to make any call (other than a call made for emergency purposes or made
                            with the prior express consent of the called party) using any automatic
                            telephone dialing system or an artificial or prerecorded voice—

                      ***

                         (iii) to any telephone number assigned to a paging service, cellular
                                telephone service, specialized mobile radio service, or other radio
                                common carrier service, or any service for which the called party is
                                charged for the call…

        47 U.S.C. §§ 227(b)(1)(A)(iii).

  40. The term “called party,” as used in Section 227(b)(1)(A) of the TCPA, refers to the

        subscriber or the regular user of the called number at the time the telephone call is made.




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        See In the Matter of Rules and Regulations Implementing the Telephone Consumer

        Protection Act of 1991, 30 FCC Rcd. 7961,7999-8000, ¶ 72-73 (2015).

  41.   Fabian was the “called party” in each telephone call Medicredit placed to Fabian’s cellular

        telephone.

  42. The “called party” may revoke any prior consent to be called on his or her cellular phone in

        any reasonable manner. In the Matter of Rules and Regulations Implementing the

        Telephone Consumer Protection Act of 1991, 30 FCC Rcd. 7961,7993, ¶ 55 (2015); Brown

        v. Credit Mgmt., LP, 131 F. Supp. 3d 1332, 1345 (N.D. Ga. 2015) (“The unwillingness [to

        receive calls] ‘may be manifested to the actor by any words or conduct inconsistent with

        the continued consent.’”).

  43.   Medicredit violated 47 U.S.C. § 227(b)(1)(A) on multiple and separate occasions by each

        time using an ATDS and/or an artificial or prerecorded voice to call Fabian on his cellular

        telephone without Fabian’s prior express consent or after such consent had been revoked.

  44.   In addition, The TCPA provides, in part:

         If the court finds that the defendant willfully or knowingly violated this subsection or the
         regulations prescribed under this subsection, the court may, in its discretion, increase the
         amount of the award to an amount equal to not more than 3 times the amount available
         under subparagraph (B) of this paragraph.

        47 U.S.C. § 227(b)(3).

  45.   The Communications Act of 1943, of which the TCPA is a part, defines “willful” as “the

        conscious or deliberate commission or omission of such act, irrespective of any intent to

        violate any provision[], rule or regulation....” 47 U.S.C. § 312(f).

  46.   In order to establish a “willful” or “knowing” violation of the TCPA, a plaintiff need not

        demonstrate that the defendant intended to violate the statute, or that it knew or should

        have known it was violating the statute. See Roylance v. ALG Real Est. Servs., Inc. 2015



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        WL 1522244, *9 (N.D. Cal. Mar. 16, 2015); Bridgeview Health Care Ctr. Ltd. v. Clark,

        2013 WL 1154206, *7 (N.D. Ill. Mar. 19, 2013); Stewart v. Regent Asset Mgmt. Solutions,

        Inc., 2011 WL 1766018, *7 (N.D. Ga. May 4, 2011).

  47.   Instead, a plaintiff need only show that the defendant engaged in a “voluntary act” that

        violated the TCPA. See Bridgeview, 2013 WL 1154206, at *7; see also Roylance, 2015

        WL 1522244, at *9 (intentionally making phone calls that violated TCPA, without intent to

        violate the statute, was sufficient to warrant treble damages).

  48.   Medicredit voluntarily placed telephone calls to Fabian’s cellular telephone number using

        an ATDS and/or an artificial or prerecorded voice.

  49.   Medicredit’s violations of 47 U.S.C. § 227(b)(1)(A) were willfully and knowingly made.

                                           COUNT FOUR

                    Violations of the Florida Consumer Collection Practices Act

  50. Fabian re-alleges and incorporates by reference Paragraphs 7 through 25 above as if fully

        set forth herein.

  51. At all times relevant to this action, Medicredit is subject to and must abide by Florida law,

        including the FCCPA, Fla. Stat. § 559.72.

  52. Medicredit is a “debt collector” as that term is defined in the FCCPA, Fla. Stat. § 559.55(7).

  53. Fabian is a “consumer” as defined by the FCCPA and is a person whom the act was

        intended to protect, FCCPA, Fla. Stat. § 559.55(2).

  54. Medicredit attempted to collect a “debt” within the meaning of FCCPA, Fla. Stat.

        § 559.55(1).




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  55. Medicredit willingly and knowingly violated Fla. Stat. § 559.72(7) by communicating with

        Fabian with such frequency as can reasonably be expected to harass Fabian, or engaging in

        other conduct which can reasonably be expected to abuse or harass Fabian.

                                          JURY DEMAND

  56.   Fabian demands a trial by jury.

                                      PRAYER FOR RELIEF

  57.   Fabian prays for the following relief:

             a. Judgment against Medicredit for actual damages, statutory damages, and costs

                 and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692k.

             b. An order enjoining Medicredit from placing further telephone calls to Fabian’s

                 cellular telephone number pursuant to 47 U.S.C. § 227(b)(3).

             c. Judgment against Medicredit for statutory damages pursuant to 47 U.S.C.

                 § 227(b)(3) for each and every call Medicredit made in violation of the TCPA.

             d. Judgment against Medicredit for actual damages, statutory damages, costs and

                 reasonable attorney’s fees, plus punitive damages pursuant to Fla. Stat. § 559.77.

             e. For such other legal and/or equitable relief as the Court deems appropriate.




                             [SIGNATURE ON FOLLOWING PAGE]




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                                     RESPECTFULLY SUBMITTED,


  Date: November 10, 2017            By:    /s/ John P. Murray

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